Case No. 1:21-cv-02478-RBJ Document 48 filed 05/03/23 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02478-RBJ

REBECCA AGWU, et al.,

      Plaintiffs,

v.

CITY AND COUNTY OF DENVER, et al.,

     Defendants.
_____________________________________________________________________

                   NOTICE OF ENTRY OF APPEARANCE
______________________________________________________________________

      Mark S. Ratner, Esq., of Hall & Evans, L.L.C., enters his appearance on behalf of

Defendant David Hunter.

              Dated this 3rd day of May, 2023.

                                        Respectfully submitted,

                                        /s/ Mark S. Ratner
                                        Mark S. Ratner, Esq.
                                        of Hall & Evans, L.L.C.
                                        1001 17th Street, Suite 300
                                        Denver, CO 80202
                                        Phone: 303-293-3220
                                        Fax:     303-628-3368
                                        ratnerm@hallevans.com

                                        ATTORNEYS FOR DEFENDANTS
                                        CITY AND COUNTY OF DENVER, ALFONSO
                                        CARRERA AND DAVID HUNTER
Case No. 1:21-cv-02478-RBJ Document 48 filed 05/03/23 USDC Colorado pg 2 of 2




                         CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on the 3rd day of May, 2023, I electronically filed the
foregoing NOTICE OF ENTRY OF APPEARANCE with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following e-mail
addresses:

Clifford L. Beem, Esq.
clbeem@beemlaw.net

A. Mark Isley, Esq.
amisley@beemlaw.net

Danielle C. Beem, Esq.
dcbeem@beemlaw.net

S. Birk Baumgartner, Esq.
birk@baumgartnerlaw.com

Adam R. Yoast, Esq.
adam@baumgartnerlaw.com



                                        /s/ Sarah Stefanick
                                        Legal Assistant




                                           2
